              Case: 4:18-cr-00213-NAB UNITED
                                       Doc. #:STATES
                                                24 Filed: 07/24/18
                                                     DISTRICT COURT Page: 1 of 1 PageID #: 54
                                                  EASTERN DISTRICT OF MISSOURI

                                                 Courtroom Minute Sheet – Criminal Case

Date     July 24, 2018                Judge    Noelle C. Collins                Case No.      4:18cr00213 NAB

UNITED STATES OF AMERICA v.                    Salven Nedic

Court Reporter      FTR GOLD                                       Deputy Clerk     K. Battle

Assistant United States Attorney(s)            Tracy Berry

Attorney(s) for Defendant(s)                   Michelle Monahan

Interpreter       N/A                                                □ SEALED PROCEEDING

Proceedings:
□ Initial Appearance                                    □ Detention Hearing                             □ Preliminary Revocation
□ Arraignment                                           □ Bond Review                                              □ Probation
□ Preliminary Examination                               □ Bond Execution/Appearance Bond                           □ Supervised Release
□ Motion Hearing                                        □ In Court Hrg (WAIVER OF MOTIONS)               Competency
  □ Evidentiary Hearing                                 □ Change of Plea/Sentencing                     □ Pretrial/Status Conference
  □ Oral Argument/Non Evidentiary Hearing               □ Rule 5(c)(3)Removal (Identity)                □ Material Witness

Parties present for hearing on Competency hearing. The defendant is not present. The Court hears argument from
attorneys. The attorney for defendant makes an objection as to plaintiff’s sealed motion. The defendant found
incompetent. Order to issue.




□ Oral Motion for appointment of counsel (GRANTED)            □ Defendant is advised of rights/indicates understanding of those rights.
□ Bail/Bond set in the amount of: $                          □ Secured Appearance Bond        □ Secured by 10%

         □ Secured by cash only        □ Secured by property         □ Unsecured bond                   □ O/R bond

□ Government filed motion for pretrial detention. Detention hearing scheduled for                                          @

□ Preliminary examination set for                                          @

□ Defendant arraigned       □ Waives reading of indictment/information              □ Matter taken under advisement

□ Plea entered    Not Guilty                                               Order on pretrial motions:       issued      □ to issue

□ Oral Motion for Suppression                  □ Motion for Extension of Time to File Pretrial Motions (GRANTED).

□ Criminal Pretrial Motions Due
□ Defendant waives                                                     □ order to issue         □ oral ruling

□ Defendant waives evidentiary hearing                 □ By leave of court withdraws all pretrial motions

Trial date/time                                            Before U.S. District Judge

          Remanded to CUSTODY                 □ Released on BOND

Next hearing date/time                    Type of hearing                                Before Judge
Proceeding commenced 1:26pm                        Proceeding concluded       1:31pm                   Continued to
□ Based upon the evidence produced, the Court finds probable cause to believe the defendant violated the law set out in the criminal complaint.
□ Based upon the evidence produced, the Court finds probable cause to believe the defendant violated the law set out in the instant petition.
□ Based upon the waiver, the Court finds probable cause to believe the defendant violated the law/conditions set out in the instant
petition/complaint.
